               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO


 EZEQUIEL DÍAZ-VICENTE,

      Plaintiff,

                v.                     Civil No. 20-1123 (FAB)

 COMMONWEALTH OF PR,
 LORAINE MARTÍNEZ-ADORNO,

      Defendants.




                            JUDGMENT


     In accordance with the Order entered today (Docket No. 24),

this case is DISMISSED without prejudice.

     This case is now closed for statistical purposes.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, December 3, 2020.


                                   s/ Francisco A. Besosa
                                   FRANCISCO A. BESOSA
                                   UNITED STATES DISTRICT JUDGE
